 Case 5:23-cv-00034-H Document 113 Filed 04/26/24                Page 1 of 3 PageID 1795


                        IN THE UNITED STATES DISTRICT COURT
                        FOR THE NORTHERN DISTRICT OF TEXAS

STATE OF TEXAS,
                             Plaintiff,
       v.                                                Case No. 5:23-cv-00034-H
MERRICK GARLAND, in his official capacity as
Attorney General, et al.,
                             Defendants.



                                    NOTICE OF APPEAL

       Notice is hereby given that Defendants Merrick Garland, the United States Department of

Justice, the Equal Employment Opportunity Commission (“EEOC”), Charlotte A. Burrows, Jocelyn

Samuels, Keith E. Sonderling, Andrea R. Lucas, and Karla Gilbride (who, as the EEOC’s General

Counsel, should be substituted for Christopher W. Lage under Fed. R. Civ. P. 25(d)) appeal to the

United States Court of Appeals for the Fifth Circuit from the memorandum opinion and order (ECF

No. 110) and final judgment (ECF No. 111) entered by the Court on February 27, 2024.


Dated: April 26, 2024                           Respectfully submitted,

                                                BRIAN M. BOYNTON
                                                Principal Deputy Assistant Attorney General

                                                JOHN GRIFFITHS
                                                Director, Federal Programs Branch

                                                LESLEY FARBY
                                                Assistant Branch Director

                                                /s/Clayton L. Bailey
                                                CLAYTON L. BAILEY (D.C. Bar No. 1644867)
                                                MICHAEL J. GAFFNEY (D.C. Bar No.
                                                1048531)
                                                Trial Attorneys
                                                United States Department of Justice
                                                Civil Division, Federal Programs Branch
                                                1100 L Street, N.W.

                                               1
Case 5:23-cv-00034-H Document 113 Filed 04/26/24       Page 2 of 3 PageID 1796


                                    Washington, D.C. 20005
                                    Tel: (202) 598-1226
                                    Fax: (202) 616-8470
                                    Email: clayton.l.bailey@usdoj.gov

                                    Counsel for Defendants




                                    2
  Case 5:23-cv-00034-H Document 113 Filed 04/26/24                    Page 3 of 3 PageID 1797


                                 CERTIFICATE OF SERVICE

       I hereby certify that on April 26, 2024, I electronically filed the foregoing paper with the Clerk

of Court using this Court’s CM/ECF system, which will notify all counsel of record of such filing.

                                               /s/Clayton L. Bailey
                                               CLAYTON L. BAILEY (D.C. Bar No. 1644867)
                                               Trial Attorney
                                               United States Department of Justice
                                               Civil Division, Federal Programs Branch
                                               1100 L Street, N.W.
                                               Washington, D.C. 20005
                                               Tel: (202) 598-1226
                                               Fax: (202) 616-8470
                                               Email: clayton.l.bailey@usdoj.gov




                                                   3
